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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 PETER LYOYA as the
 Personal Representative for
 THE ESTATE OF PATRICK LYOYA                       Case No. 1:22-CV-1160
 (deceased),
                                                   Hon. Paul L. Maloney
       Plaintiff,                                  Mag. Judge Sally J. Berens
 v.
 CHRISTOPHER SCHURR and
 THE CITY OF GRAND RAPIDS,
      Defendants.


         PLAINTIFF’S RESPONSE TO DEFENDANT SCHURR’S
                   MOTION FOR A GAG ORDER
      LIMITING EXTRAJUDICIAL STATEMENTS BY THE PARTIES

       Now comes Plaintiff, Peter Lyoya, as personal representative of the Estate of

 Patrick Lyoya, deceased, by and through his counsel, Johnson Law, PLC, and in

 response to Defendant Schurr’s Motion for a Gag Order Limiting Extrajudicial

 Statements by the Parties. Plaintiff opposes this motion in all regards and will

 respond in full. However, Defendant requests expedited consideration of this motion

 (which was filed on a holiday weekend when nothing new of note is occurring in

 this case), yet does not comply with Local Rule 7.1(e), which requires an explanation

 as to why expedited consideration is necessary. This motion should be denied on

 that basis alone.   Further, Defendant is attempting to limit perhaps the most
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 important form of First Amendment activity- speech regarding a governmental

 actor’s taking of a life. In requesting that extraordinary relief, Defendant has not

 made any showing that a gag order is permitted under the law. This motion is

 without merit and Plaintiff opposes it in every respect.

        WHEREFORE, for the reasons fully set forth in the brief in support of this

 response, Plaintiff respectfully requests that this Honorable Court deny this motion

 in all regards.

                                        Respectfully submitted,

                                        VEN JOHNSON LAW, PLC.

                                        By: /s/ Ven R. Johnson
                                        VEN R. JOHNSON (P39219)
                                        CHRISTOPHER DESMOND (P71493)
                                        AYANNA D. HATCHETT (P70055)
                                        Counsel for Plaintiff
                                        Johnson Law, PLC
                                        535 Griswold Street, Suite 2600
                                        Detroit, MI 48226
                                        (313) 324.8300
                                        vjohnson@venjohnsonlaw.com

 Dated: April 21, 2025




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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 PETER LYOYA as the
 Personal Representative for
 THE ESTATE OF PATRICK LYOYA                  Case No. 1:22-CV-1160
 (deceased),
                                              Hon. Paul L. Maloney
       Plaintiff,                             Mag. Judge Sally J. Berens
 v.
 CHRISTOPHER SCHURR and
 THE CITY OF GRAND RAPIDS,
      Defendants.


  PLAINTIFF’S BRIEF IN SUPPORT OF HIS RESPONSE TO DEFENDANT
  SCHURR’S MOTION FOR A GAG ORDER LIMITING EXTRAJUDICIAL
                  STATEMENTS BY THE PARTIES
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                             ISSUE PRESENTED

   I.   WHETHER DEFENDANT HAS OVERCOME THE HARSH
        PRESUMPTION OF UNCONSTITUTIONALITY THAT COMES WITH
        THE PRIOR RESTRAINT ON SPEECH DEFENDANT SEEKS TO
        IMPOSE THROUGH THIS COURT.




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                                   INTRODUCTION

       Patrick Lyoya was killed on April 1, 2022, when Defendant Christopher

 Schurr shot him in the back of the head (without warning) while Patrick was

 unarmed and pinned on the ground. Peter Lyoya, Patrick’s father and the Personal

 Representative of Patrick’s Estate, filed a lawsuit on December 7, 2022, and shortly

 thereafter filed an Amended Complaint on the same date. The parties are not yet in

 discovery, as this case has been significantly delayed as a result of Defendant’s

 appeal following the rightful denial of his assertion of qualified immunity.

    Now, despite the fact that there are zero new developments in this case,

 Defendant has elected to file a motion for a gag order on Easter weekend-

 necessitating the Lyoya family’s prompt reply lest they risk surrendering their First

 Amendment rights regarding their loved one’s death at the hands of a police officer.

 Defendant seeks to silence the Lyoyas indefinitely. Defendant seeks an order

 defining the way in which victims may communicate following a governmental

 actor’s use of lethal force that gave rise to charges of second degree murder. There

 is no basis on which to grant this motion. Not any part of it. No limitation of speech

 of any kind is warranted or permitted here.




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       I.     DEFENDANT IS SEEKING AN IMPERMISSIBLE PRIOR RESTRAINT ON
              PLAINTIFF'S SPEECH AND HAS NOT MET THE HEAVY BURDENS THAT
              APPLY TO SUCH A REQUEST

            What Defendant seeks here is a prior restraint on the speech of both the

 Lyoyas and their counsel. As the Supreme Court has explained, a prior restraint

 occurs where an order issues “forbidding certain communications when issued in

 advance of the time that such communications are to occur. Temporary restraining

 orders and permanent injunctions--i.e., court orders that actually forbid speech

 activities--are classic examples of prior restraints.” Alexander v. United States, 509

 U.S. 544, 550, 125 L. Ed. 2d 441, 113 S. Ct. 2766 (1993) (emphasis and citations

 omitted). “It has long been established that a prior restraint comes to a court ‘with a

 heavy presumption against its constitutional validity.’” Procter & Gamble Co. v.

 Bankers Trust Co., 78 F.3d 219, 224 (6th Cir. 1996) (quoting Bantam Books v.

 Sullivan, 372 U.S. 58, 70, 83 S. Ct. 631, 9 L. Ed. 2d 584 (1963)); see also Cty. Sec.

 Agency v. Ohio Dep't of Commerce, 296 F.3d 477, 485 (6th Cir. 2002). Any restraint

 “must be narrowly drawn and be the least restrictive means available.” Id. at 485-

 86.

            The request here is an extraordinary one. In his own counsel’s words,

 “Defendant Schurr respectfully requests this Court to issue a gag order for the

 duration of these proceedings limiting the parties and their counsel from any further

 communication to the public and the media.” No communication of any kind with


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 the public (however that is defined) or the media (presumably in any of the forms it

 may take) for an indefinite period of time. There could be no broader request.

        And to be clear, Defendant has done nothing to lessen the length of time for

 which the Lyoyas would be so broadly silenced. The first responsive pleading in

 this case was a motion to dismiss based on qualified immunity (despite that doctrine

 being heavily disfavored at the motion to dismiss stage). When that motion was

 rightly denied, Defendant filed an improper interlocutory appeal that was dismissed

 for lack of jurisdiction after briefing and argument.1 Following that was an

 unsuccessful petition for en banc review, which was then followed by a petition for

 a writ of certiorari which remains pending in the United States Supreme Court. It

 has been years since Patrick’s death and there are years of litigation ahead.

 Defendants cannot simultaneously ask to broadly limit the Lyoyas speech for an

 indefinite period of time and taking action that extends the time for which that

 silence will last.

        Not only is Defendant asking for the broadest possible restriction on speech

 for an entirely uncertain period of time, he does it despite the uniquely privileged



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   In the event that Defendant should reply that the delay created by his appeal was not improper
 because he had a right to have his defense of qualified immunity decided at the earliest possible
 opportunity, such an argument misses the nature of the 6th Circuit’s ruling. The Court dismissed
 the interlocutory appeal because the right to an interlocutory appeal comes with certain
 requirements, including that the appellant limit himself to arguments of law, not fact. Defendant’s
 failure to do so essentially divested the court of jurisdiction. In other words, this case was denied
 extensively on the basis of an appeal to which Defendant was ultimately never entitled.
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 form of speech. Plaintiff is aware of no case that stands for the proposition that a

 governmental actor charged with murder in the course of his duties may silence the

 public’s (let alone the victims’) speech regarding those events. There can be no

 more important subject of public attention and comment from a constitutional

 standpoint. At issue is a governmental actor’s taking of a life, in violation of the

 Fourth Amendment and without due process of law. Plaintiff does not concede that

 his First Amendment rights regarding that subject can be subordinate to any other

 principle.

       While Plaintiff contends that no limitation can constitutionally be applied

 here, he acknowledges that Defendant also offers a purportedly tailored list of

 limitations. This Court need not consider those proposed limitations, however. As

 Defendant recognizes, to the extent a case is of the type where a gag order may be

 applied, a narrowly tailored order may be proper if the party seeking that order shows

 a “substantial likelihood of material prejudice” should an order not issue. While that

 standard has never been applied to a case of this type in the 6th Circuit, Defendant

 has not shown a substantial likelihood of material prejudice anyway. That the Lyoya

 family, both through its own voice and through counsel, may comment on Patrick’s

 death and subjects associated with that death, does not mean that Defendant has

 shown such comment has had any direct change in public sentiment.




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        Even if Defendant was doing something more than speculating that Plaintiff's

 counsel has influenced the public, Defendant still fails to explain the material

 prejudice he suffers. Defendant will receive a fair trial in this matter. The parties

 and the court will ensure that an impartial jury is selected. That jury will be properly

 instructed on the law and it is presumed under the law that it will follow those

 instructions. Defendant cannot show, through those layers of safeguards that lie

 ahead, that he faces any likelihood of prejudice, let alone a substantial and material

 one.

        And to be clear, the requested limitation is equally improper as to counsel and

 for all the same reasons. And in addition, to limit counsel’s ability to comment

 publicly is to further injure the Lyoyas. These events have rightfully been a matter

 of significant public concern since the day of Patrick’s death. By responding to

 media inquiry through counsel, the Lyoya family avoids having the media intruding

 into their lives in an uncontrolled manner (specifically, it stops the media from

 directly going to the Lyoyas’ homes in pursuit of information). And to reiterate the

 obvious, the Lyoyas are a matter of media attention because of Schurr’s conduct. To

 preclude them from fully commenting through counsel is to exacerbate their injuries

 due to no fault of their own.

        Plaintiff lastly acknowledges that Defendant’s motion curiously references

 the impending criminal trial at various points. That trial has no relevance to this


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 motion. The criminal proceedings are occurring in state court with a judge who is

 present to protect Defendant’s rights. Further, he is represented in that case by a

 team of criminal attorneys that has vigorously defended him. It is entirely unclear

 how Defendant’s civil attorneys are seeking to use his civil case as a mechanism to

 allegedly protect his rights under criminal law. Defendant offers no authority

 demonstrating that this Court’s considerations may extend to those proceedings.

                                   CONCLUSION

       For the reasons set forth above, Plaintiff respectfully requests that this

 honorable Court deny this motion in all regards. Defendant has failed to show that

 this motion should be given expedited consideration as there is nothing imminent in

 this action that necessitates a prompt decision. Further, Defendant has not met the

 heavy burden it faces in seeking a prior restraint of First Amendment activity in a

 case of such grave concern.




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                                        11



                                      Respectfully submitted,

                                      VEN JOHNSON LAW, PLC.

                                      By: /s/ Ven R. Johnson
                                      VEN R. JOHNSON (P39219)
                                      CHRISTOPHER DESMOND (P71493)
                                      AYANNA D. HATCHETT (P70055)
                                      Counsel for Plaintiff
                                      Johnson Law, PLC
                                      535 Griswold Street, Suite 2600
                                      Detroit, MI 48226
                                      (313) 324.8300
                                      vjohnson@venjohnsonlaw.com

 Dated: April 21, 2025

                         CERTIFICATE OF COMPLIANCE

             I hereby affirm that this brief is in compliance with
       LCivR7.2(b)(i) and contains 1,452 words in the Times New Roman
       Font, 14 point, and generated in Microsoft Word processing software,
       version 2012.

                               /s/VEN R. JOHNSON
                                  VEN R. JOHNSON



                          CERTIFICATE OF SERVICE

             The undersigned certifies that on April 21, 2025, a copy of the
       forgoing document was served upon the attorneys of record in the above
       cause, by efiling it on the Court’s ECF system.


                                /s/LIZA DODSON
                                 LIZA DODSON



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